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                        UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                         Bankruptcy Judge Thomas B. McNamara


  In re:
  11380 Smith Rd, LLC                          Bankruptcy Case No. 19-10286 TBM
  EIN: XX-XXXXXXX                              Chapter 7
                                               Involuntary Petition
  Debtor.
______________________________________________________________________

        ORDER FOR RELIEF AND PROCEDURE IN INVOLUNTARY CASE
_______________________________________________________________________

       THIS MATTER comes before the Court on the involuntary petition (Docket No. 2,
the “Petition”) filed by Mid America Plastic Systems (the “Petitioning Creditor”) on January
16, 2019 against the above-named debtor. On February 6, 2019, the Debtor filed its
“Stipulated Response to Involuntary Petition” (Docket No. 18, the “Consent”) in which the
Debtor consented to the entry of an Order for Relief. Accordingly, and pursuant to Fed.
R. Bankr. P. 1013(b), an order for relief must be entered promptly. Therefore, the Court:

      ORDERS that the Petition for an Order for Relief under Chapter 7 of Title 11 of the
United States Code is GRANTED;

       FURTHER ORDERS an Order for Relief under Chapter 7 of Title 11 of the United
States Code is ENTERED;

       FURTHER ORDERS that pursuant to Fed. R. Bankr. P. 1007(a)(2), Debtor shall
file WITHIN SEVEN (7) DAYS OF THE ENTRY OF THIS ORDER a list containing the
name and address of each entity included or to be included on Schedules D, E/F, G, and
H as prescribed by the Official Forms; and

      FURTHER ORDERS that pursuant to Fed. R. Bankr. P. 1007(c), Debtor shall file
ON OR BEFORE FOURTEEN (14) DAYS FROM THE DATE OF ENTRY OF THIS
ORDER the schedules, statement of financial affairs and other documents required by
Fed. R. Bankr. P. 1007(b)(1).

      DATED this 15th day of February, 2019.

                                                BY THE COURT:



                                                Thomas B. McNamara,
                                                United States Bankruptcy Judge
